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For the District of New Jersey

United States of America
ORDER SETTING CONDITIONS

Vv. OF RELEASE
SHEILA KAHL

Case Number: 3:16-CR-547-01 (AET)

Defendant

IT IS ORDERED on this _Ist__ day of December, 2016 that the release of the defendant is subject to the following
conditions:
(1) The defendant must not violate any federal, state or local law while on release.
(2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized by
42 U.S.C. § 14135a,
(3) The defendant must immediately advise the court, defense counsel, and the U.S. attorney in writing before
any change in address and/or telephone number.
(4) The defendant must appear in court as required and must surrender to serve any sentence imposed.

Release on Bond

Bail be fixed at $ and the defendant shall be released upon:

( X) Executing an unsecured appearance bond (_ ) with co-signor(s) ;

( } Executing a secured appearance bond (_) with co-signor(s)
and (_ ) depositing in cash in the registry of the Court
agreement to forfeit designated property located at
Local Criminal Rule 46.1(d)(3) waived/not waived by the Court.

( } Executing an appearance bond with approved sureties, or the deposit of cash in the full amount of the bail
in lieu thereof;

% of the bail fixed; and/or (__) execute an

Additional Conditions of Release

Upon finding that release by the above methods will not by themselves reasonably assure the appearance of the defendant
and the safety of other persons and the community, it is further ordered that the release of the defendant is subject to the
condition(s) listed below:

IT [S FURTHER ORDERED that, in addition to the above, the following conditions are imposed:
( X) Report to Pretrial Services (“PTS”) as directed and advise them immediately of any contact with law
enforcement personnel, including but not limited to, any arrest, questioning or traffic stop.
{( ) The defendant shall not attempt to influence, intimidate, or injure any juror or judicial officer; not tamper
with any witness, victim, or informant; not retaliate against any witness, victim or informant in this case.
{ ) The defendant shall be released into the third party custody of

who agrees (a) to supervise the defendant in accordance with all the conditions of release, (b) to use every effort
to assure the appearance of the defendant at all scheduled court proceedings, and (c) to notify the court
inunediately in the event the defendant violates any conditions of release or disappears.

Custodian Signature: Date:

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(X) The defendant’s travel is restricted to (| ) New Jersey ( X ) Other the continental United States
unless approved by Pretrial Services (PTS).
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( ) Substance abuse testing and/or treatment as directed by PTS. Refrain from obstructing or tampering with
substance abuse testing procedures/equipment.
( ) Refrain from possessing a firearm, destructive device, or other dangerous weapons. All firearms in any
home in which the defendant resides shall be removed by and verification provided to PTS.
Mental health testing/treatment as directed by PTS.
Abstain from the use of alcohol.
Maintain current residence or a residence approved by PTS.
Maintain or actively seek employment and/or commence an education program.
No contact with minors unless in the presence of a parent or guardian who is aware of the present offense.
Have no contact with the following individuals:
Defendant is to participate in one of the following home confinement program components and abide by
all the requirements of the program which ( ) will or (_) wil! not include electronic monitoring or other
location verification system. You shall pay all or part of the cost of the program based upon your ability to
pay as determined by the pretrial services office or supervising officer.
( ) (i) Curfew. You are restricted to your residence every day (_) from to , or
(_ ) as directed by the pretrial services office or supervising officer; or
( ) Gi) Home Detention. You are restricted to your residence at all times except for employment;
education; religious services; medical, substance abuse, or mental health treatment; attorney
visits; court appearances; court-ordered obligations; or other activities as pre-approved by
the pretrial services office or supervising officer; or
( ) Gli) Home Incarceration. You are restricted to your residence at all times except for medical
needs or treatment, religious services, and court appearances or other activities pre-approved
by the pretrial services office or supervising officer.

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{ ) Defendant is subject to the following computer/internet restrictions which may include manual
inspection and/or the installation of computer monitoring software as deemed appropriate by
Pretrial Services;

( ) (i) No Computers - defendant is prohibited from possession and/or use of computers or
connected devices.

( ) Gi) Computer - No Internet Access: defendant is permitted use of computers or connected
devices, but is not permitted access to the Internet (World Wide Web, FTP Sites, IRC
Servers, Instant Messaging, etc);

( ) (ii) Computer With Internet Access: defendant is permitted use of computers or connected
devices, and is permitted access to the Internet (World Wide Web, FTP Sites, IRC Servers,
Instant Messaging, etc.) for purposes pre-approved by Pretrial Services at
[ ] home [ ] for employment purposes.

( ) (iv) Consent of Other Residents -by consent of other residents in the home, any computers in
the home utilized by other residents shall be approved by Pretrial Services, password
protected by a third party custodian approved by Pretrial Services, and subject to inspection
for compliance by Pretrial Services.

( ) Other:
( } Other:
( ) Other:

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TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your
arrest, a revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court
and could result in imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more
than ten years and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year.
This sentence will be consecutive (i.e., in addition to) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal
investigation; tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or
informant; or intimidate or attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties
for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a
sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are
convicted of:

(1} an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more
~ you will be fined not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you
will be fined not more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or
both;

(4) a misdemeanor — you will be fined not more than $100,000 or imprisoned not more than one year, or
both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence

you receive. In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise
to obey al! conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the

penalties and sanctions set forth above.
Sul K AL

Defendant's Signature

Point Pleasant, New Jersey

City and State

Directions to the United States Marshal

( ) The defendant is ORDERED released after processing.

( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge
that the defendant has posted bond and/or complied with all other conditions for release. If still in custody, the
defendant must be produced before the appropriate judge at the time and place specified.

Date: _ December 1, 2016

Judicial Officer ’s Signatur’

ANNE E. THOMPSON, U.S.D.J.
Printed name and title

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